









Affirmed and Opinion filed December 5, 2002









Affirmed and Opinion filed December 5, 2002.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO.
14-02-00669-CR

____________

&nbsp;

PORFIRIO
FLORES, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On
Appeal from the 337th District Court

Harris
County, Texas

Trial
Court Cause No. 759,437

&nbsp;



&nbsp;

O
P I N I O N

Appellant entered a plea of guilty to the offense of
aggravated assault.&nbsp; On March 17, 1999,
the trial court deferred a finding of guilt and placed appellant on deferred
adjudication probation for six years.&nbsp; On
January 17, 2002, the State filed a motion to adjudicate alleging appellant
violated the terms and conditions of his deferred adjudication.&nbsp; On March 17, 1998, the State filed a first
and second amended motion to adjudicate.&nbsp;
On May 30, 2002, the trial court granted the motion to adjudicate, found
appellant guilty and sentenced appellant to confinement for twenty years in the
Institutional Division of the Texas Department of Criminal Justice.&nbsp; Appellant filed a pro se notice of appeal.








Appellant=s appointed counsel filed a brief in which she concludes the
appeal is wholly frivolous and without merit.&nbsp;
The brief meets the requirements of Anders v. California, 386
U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967), by
presenting a professional evaluation of the record demonstrating why there are
no arguable grounds to be advanced.&nbsp; See
High v. State, 573 S.W.2d 807 (Tex. Crim. App. 1978).

A copy of counsel=s brief was delivered to
appellant.&nbsp; Appellant was advised of the
right to examine the appellate record and file a pro se response.&nbsp; See Stafford v. State, 813 S.W.2d 503, 510 (Tex. Crim.
App. 1991).&nbsp; As of this date, no pro se
response has been filed.

We have carefully reviewed the record and counsel=s brief and agree the appeal is
wholly frivolous and without merit.&nbsp;
Further, we find no reversible error in the record.&nbsp; A discussion of the brief would add nothing
to the jurisprudence of the state.

Accordingly, the judgment of the trial court is affirmed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Opinion
filed December 5, 2002.

Panel consists of Justices Yates,
Anderson, and Frost. 

Do Not Publish C Tex. R.
App. P. 47.3(b).





